Case £48ecf: 08278 IP H-FAB DUE Gnlent: 42 es fcaple / ait iy) Fil edt 10/ hits: P Page 1 of
2 PagelD #: 119

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

 

Southern District of Indiana

United States of America Yi14-M3- 2610-3
v. )
) Case No, 1:19-er-0278-JPH-TAB
)
)
RAMON SOLIS (-03) )
)

 

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) RAMON SOLIS (-03) , / :
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment we Superseding Indictment ©) Information © Superseding Information Complaint
O Probation Violation Petition (1 Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Count 1: Conspiracy to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 846 and 841(a)(1).
Count 3: Distribution of a Mixture or Substance Containing Fentanyl, in violation of 21 U.S.C. §§ 841(a)(1), (b)
(1)(C) and 18 U.S.C, § 2.

10/11/2019

 

Date:

City and state: Indianapolis, IN

 

 

Return

 

This warrant was Hien , Te on (date) | Ot= 1s) 4 , and the person was arrested on (date) lee, C8126) 9
CH

at (city and state) icf

Date: 10/25; 29/4 FGF

/ Arresting officer's signature

 

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Printed name and title

 

 

 

 

 
